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                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                     AUSTIN DIVISION

DONALD HESS and ELIZABETH                              §      No. 1:22-mc-00480-RP
PADILLA, individually and on behalf of all             §
others similarly situated,                             §
                                                       §
                                     Plaintiffs,       §
               V.                                      §      Underlying Litigation:
                                                       §      Case No. 1:21-cv-04099-AT-RWL
BED BATH & BEYOND, INC.                                §      United States District Court
                                                       §      Southern District of New York
                                     Defendant.        §

                                APPEARANCE OF COUNSEL

To:    The Clerk of Court and All Parties of Record

       I am admitted or otherwise authorized to practice in this Court, and I appear in this case

as counsel for Indeed, Inc.

       Date: May 24, 2022                              Respectfully submitted,



                                                        /s/ Ariel Henderson
                                                        Ariel Henderson
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                                                        ATTORNEY FOR INDEED, INC.




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                                CERTIFICATE OF SERVICE

        I hereby certify that on May 24, 2022, I electronically filed the foregoing with the Clerk
of the Court using the CM/ECF system, which will send notification of such filing to the
following attorneys of record. To the extent any such counsel is not registered for such electronic
delivery, the foregoing document will be served on the following attorneys in accordance with
the Federal Rules of Civil Procedure.

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                                                      /s/ Ariel Henderson
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